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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                8:13CR212
                     Plaintiff,                )
                                               )
       vs.                                     )                 ORDER
                                               )
DEREK DURAE,                                   )
MELISSA GLASS and                              )
EDDIE GLASS,                                   )
                                               )
                     Defendants.               )
       This matter is before the court on the motion to continue by defendant Melissa
Glass (Glass) (Filing No. 37). Glass seeks a continuance of the trial of this matter for up
to ninety (90) days for medical reasons. Glass has filed an affidavit together with a letter
from her physician. Having reviewed the letter, the courts finds the previous continuance
of trial to September 9, 2013, is sufficient. See Filing No. 36. Accordingly, Glass’s request
for a continuance past September 9, 2013, is denied.


       IT IS SO ORDERED.


       DATED this 1st day of August, 2013.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
